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     1                    IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
     2                              SOUTHERN DIVISION

     3   UNITED STATES OF AMERICA,          )
                                            )
     4   -vs-                               )     Criminal Case No.
                                            )
     5   YOUSEF MOHAMMAD RAMADAN,           )     2:17-cr-20595-MOB-EAS
                                            )
     6               Defendant.             )
         _____________________________
     7

     8                              MOTION HEARINGS
                       BEFORE THE HONORABLE MARIANNE O. BATTANI
     9                       UNITED STATES DISTRICT JUDGE
                    Detroit, Michigan - Wednesday, April 18, 2018
    10

    11   APPEARANCES:

    12   FOR THE GOVERNMENT:       RONALD W. WATERSTREET, ESQ. and
                                   MICHAEL M. MARTIN, ESQ.
    13                             United States Attorney's Office
                                   211 W. Fort Street, Suite 2001
    14                             Detroit, Michigan 48226
                                   (313) 226-9100
    15
         FOR THE DEFENDANT:        ANDREW DENSEMO, ESQ. and
    16                             COLLEEN P. FITZHARRIS, ESQ.
                                   Federal Defender Office
    17                             613 Abbott, 5th Floor
                                   Detroit, Michigan 48226
    18                             (313) 967-5555

    19   ALSO PRESENT         :    SEREEN KISHMISH,
                                   Arabic Intepreter
    20

    21   REPORTED BY:              Darlene May, CSR, RPR, CRR, RMR
                                   231 W. Lafayette Boulevard
    22                             Detroit, Michigan 48226
                                   (313) 234-2605
    23

    24   (Proceedings reported by mechanical stenography.             Transcript
          produced by computer.)
    25
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                                                                                      3


     1               Wednesday, April 18, 2018

     2               2:10 p.m.

     3                                     -- --- --

     4               THE CLERK OF THE COURT:       Please rise.

     5               The United States District Court for the Eastern

     6   District of Michigan is now in session.           The Honorable Marianne

     7   O. Battani presiding.

     8               You may be seated.

     9               Calling case number 17-20595, the United States v.

    10   Yousef Ramadan.

    11               THE COURT:    Okay.     Counsel, may I have your

    12   appearances, please.

    13               MR. MARTIN:    Good afternoon, Your Honor.         Michael

    14   Martin and Ronald Waterstreet on behalf of the government.                 And

    15   with us today is the case agent, FBI Special Agent David

    16   Banach.

    17               THE COURT:    Thank you.

    18               MS. FITZHARRIS:       Good afternoon.   Colleen Fitzharris

    19   and Andrew Densemo on behalf of Yousef Ramadan, who is being

    20   assisted by an Arabic speaking interpreter.

    21               THE COURT:    Okay.     Would you swear in the interpreter,

    22   please.

    23               THE CLERK OF THE COURT:       Do you solemnly swear that

    24   you will interpret accurately and completely from the Arabic

    25   language to the English language and English to Arabic using
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     1   your best skill and judgment?

     2               THE INTERPRETER:       I do.

     3               THE COURT:    All right.       We have a number of motions

     4   here.    Do you want them in any particular order, counsel?

     5               MS. FITZHARRIS:       Unless Your Honor has a preference of

     6   what we would like to address first, I ...

     7               THE COURT:    No.     We don't care.

     8               Mr. Waterstreet?

     9               MR. MARTIN:    Your Honor, I was going to suggest a

    10   particular order, because I think it would help narrow down

    11   what needs to be decided.         I did prepare a document that -- in

    12   which the order that I would propose them to be heard in.                  If I

    13   could just pass that up to the Court?

    14               THE COURT:    Okay.

    15           (Document passed.)

    16               MR. MARTIN:    And what I have done is I've labeled each

    17   of the five motions that you requested a hearing on today, one,

    18   two, three, four and five.         And then underneath one and two I

    19   have actually listed the discovery that the defendant is

    20   requesting with respect to that particular motion.

    21               THE COURT:    All right.

    22               MR. MARTIN:    And then at the bottom of the page I've

    23   indicated that -- there's two motions that aren't on the list

    24   for today that ultimately must be decided by this Court at some

    25   point.    And I think resolution of the first two become moot, if
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     1   the bottom two are decided.        And I've italicized the defense

     2   motion to dismiss for destruction of video evidence.              And then

     3   I've italicized what evidence would become moot at that point.

     4   And then I have underlined the defense motion to suppress

     5   evidence in violation of the Fourth Amendment.

     6               That -- deciding that would then moot several others

     7   as well.    So most of one and two will become moot if the

     8   decision on those bottom two motions is ruled in favor of the

     9   government.

    10               I know we've had oral argument.

    11               THE COURT:    We've already done this.

    12               MR. MARTIN:    We've had oral argument on the Fourth

    13   Amendment issue already.       We have not had argument on the

    14   motion to dismiss for destruction of video evidence.

    15               So when we first began the suppression hearing in

    16   January, at that time I asked the Court to rule on the Fourth

    17   Amendment issue because the undisputed facts were that the

    18   search took place at the border and as a legal matter, no

    19   warrant was required.       We went ahead with the evidentiary

    20   hearing on that issue because we already had the witnesses

    21   there and Your Honor said, you know, they're here.             I've got

    22   time.    Let's just go ahead and do it.

    23               And that made a lot of sense.        But now the parties are

    24   litigating discovery related to whether the agents had probable

    25   cause or reasonable suspicion.
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     1               THE COURT:    Okay.

     2               MR. MARTIN:    And I think resolving that motion could

     3   save us a lot of time.

     4               MS. FITZHARRIS:     We would disagree with the government

     5   that now is the appropriate time to resolve those issues.                  The

     6   issue is the Fourth Amendment and what level of suspicion is

     7   required to search digital devices, if any, is a hot topic.

     8   And I think Mr. Ramadan has a right to develop the record on

     9   what facts the government had before it chose to search his

    10   digital devices so that the record is complete when this Court

    11   is confronted with that legal question and for the court of

    12   appeals.

    13               I mean, because, hopefully, we don't have to go back

    14   and forth between here and the court of appeals if the Supreme

    15   Court or Sixth Circuit ultimately decides that some level of

    16   suspicion is required.

    17               I think Mr. Ramadan should be entitled to have a

    18   complete hearing on the circumstances leading to the search of

    19   his devices.     So we object to that at this time.

    20               THE COURT:    The Court is not going to rule on that at

    21   this time but will do it in a written opinion at the time we

    22   make ruling on all the other issues in this case so that

    23   everything that is done -- that goes to the court of appeals,

    24   goes to the court of appeals.

    25               MS. FITZHARRIS:     Okay.
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     1               THE COURT:    But the motion to dismiss for destruction

     2   of video evidence, that's kind of -- you have that also in your

     3   other motions somewhere.

     4               MS. FITZHARRIS:     Yes.   So this is still -- you know,

     5   frankly, a lot of things are going on in this case.              It's kind

     6   of been a moving target as we learn new information,

     7   particularly information about evidence that has been

     8   destroyed.     And so we have supplemented our briefing as we

     9   learn new evidence, as we learn about nondisclosures and as

    10   we've learn about additional destruction.

    11               There is the affidavit of Ms. Steed (ph).           I think --

    12   in my most recent filing, I do think that there is sufficient

    13   evidence to show that the federal government had control over

    14   the video recording commitment -- equipment in the rooms where

    15   Mr. Ramadan was interrogated.

    16               You know, this is government property.          In order to

    17   access it, you need to get permission from CBP, not from the

    18   Wayne County Port Authority.        There are indications of federal

    19   government authority all over the room.

    20               As Agent Kelly testified, even to get on the computer

    21   you have to have a specific federal government ID.             And so I

    22   think to say the government had no responsibility to preserve

    23   this evidence, particularly when Mr. Ramadan's statements were

    24   included in the application for a search warrant of the storage

    25   unit it is a little -- it doesn't make sense.           Particularly,
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     1   when the federal government had so much control and access over

     2   the room where the interrogation took place.

     3               The issues related to the destruction of Officer

     4   Armentrout's notes, those -- those we have to discuss as well.

     5   And there was some testimony by Officer Schmeltz that he

     6   usually destroys -- shreds notes after he writes a report.

     7               We -- that is why we have requested the evidence

     8   retention policies for CBP and also --

     9               THE COURT:    Why don't we stop there.          Because you're

    10   going into all of these, and I'll take them in order.

    11               MS. FITZHARRIS:     Sure.

    12               THE COURT:    I'll take them in the that they're on

    13   here.    So, 50, first.

    14               MS. FITZHARRIS:     Well, I actually had a slightly

    15   different approach I was going to take.           I was just going to

    16   identify the evidence that we are seeking and explain to the

    17   Court why we think it is relevant and material, which is pretty

    18   much the same question.       So even if it's not taking it motion

    19   by motion, I just wanted to get all of that out at the

    20   beginning.

    21               THE COURT:    All right.

    22               MS. FITZHARRIS:     And at the outset it's worth noting

    23   that this is all relevant to determine whether the evidence,

    24   the firearms and Mr. Ramadan's statements are admissible at

    25   trial; whether they were seized lawfully.           So it goes to the
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     1   quantity of proof that the government will have.             And it,

     2   obviously, will be very determinative of whether Mr. Ramadan --

     3   whether it can prove that Mr. Ramadan committed the violations

     4   stated in the indictment.

     5               To that end, we have requested identification of the

     6   federal officers who were involved in the investigation,

     7   interrogation at the airport.        We have also asked for

     8   identification of which federal agencies those officers work

     9   for.

    10               And the reason we have asked for this is because,

    11   during the first day of the evidentiary hearing, there was,

    12   frankly, some names that came up that we were not familiar

    13   with.    And we have become concerned over time as we've learned

    14   more about the government's views about its disclosure

    15   obligations that we haven't received reports, E-mails or

    16   statements or a number of other evidence relevant to find out

    17   exactly what happened on this night.

    18               THE COURT:    What other reports do you feel you have

    19   not received?

    20               MS. FITZHARRIS:     We don't know.     And the reason we

    21   have asked for this is so we can make specific requests and

    22   get --

    23               THE COURT:    Who are you asking for it?        Where were

    24   these officers that you're asking about?

    25               MS. FITZHARRIS:     So these are the TSA officers.             There
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      1   is an --

      2              THE COURT:    Stop.     Slow down.     Okay.

      3              All right.    TSA officers who were there when they

      4   interrogated them or just any TSA officer that was at the

      5   airport?

      6              MS. FITZHARRIS:       So to answer some of these questions,

      7   I'm going to refer you to the letter that I -- we sent the

      8   government on shortly -- following up on some discovery.               And

      9   those were exhibits to the 17C subpoena motion.

     10              THE COURT:    The what?

     11              MS. FITZHARRIS:       The 17C -- motion for a 17C subpoena.

     12              THE COURT:    Okay.

     13              MS. FITZHARRIS:       All right.     So I have attached ...

     14              THE COURT:    Which exhibit?

     15              MS. FITZHARRIS:       So there are three exhibits.        There

     16   is Exhibit A, which is page ID number 668.

     17              THE COURT:    I've got it.

     18              MS. FITZHARRIS:       All right.     That was the first E-mail

     19   sent requesting information.        And this was before we had the

     20   transcripts.

     21              And once we received the transcripts, if you turn to

     22   page ID 673 to 674.      It specifically identified the names of

     23   officers who were in -- who were mentioned during the

     24   evidentiary hearing.      So that is Ahmad Rammel, Jesse Nagy,

     25   Officer Haeck, Officer Schmeltz, Supervisor Stiggerwalt and --
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      1   you know, we don't have any reports from Officer Vasher who,

      2   obviously, testified.

      3               Some of these names were new to us.        Which is -- and

      4   we specifically requested their writings once we learned their

      5   names.

      6               We have asked for identification of those officers and

      7   which agencies they work for because we don't know what we

      8   don't know.     And we want to make sure that our record is

      9   complete and that we have been provided any contemporaneous

     10   reportings or statements taken during that investigation.

     11               THE COURT:   Okay.

     12               MS. FITZHARRIS:    All right.

     13               The second -- those things are kind of together.

     14               The second thing is this unredacted 2010 tip reports.

     15   The government brought this up during the direct examination of

     16   Officer Armentrout and went into some of the details of that

     17   report back in 2010.

     18               As I mentioned in motion and also at the previous

     19   hearing, the last three pages of that report are heavily

     20   redacted.     We do not know what those redactions cover.

     21               Officer Armentrout told the Court that he did not have

     22   access to information about any follow-up investigation.              It's

     23   very difficult for us to know whether that's true when we can't

     24   see the full report.

     25               THE COURT:   Well, wait a minute.       If you didn't have
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      1   access, why do you have to see the full report?

      2               MS. FITZHARRIS:    Well, he mentioned it.        He referenced

      3   it.     So Mr. Waterstreet marked that exhibit, I believe it's

      4   Exhibit I, and then asked specific details drawn from that

      5   report.     All right.

      6               So it was my understanding during the hearing that the

      7   report -- either Officer Armentrout looked at the report before

      8   the hearing or it would be used to refresh recollection.              And

      9   if we don't know what is in that report, it's very difficult

     10   to -- if not impossible, to cross-examine Officer Armentrout or

     11   any other officer.

     12               THE COURT:   But what you need to know is what he knew

     13   at that time, right?      Because he didn't have a copy of the

     14   report at that time.

     15               MS. FITZHARRIS:    Well, you know, what's in the tip?

     16   What's in that tip?      What do they see?      We actually don't

     17   know.

     18               THE COURT:   I don't know.       Did you ask what they see?

     19               MS. FITZHARRIS:    You know, they said not very much.

     20   They said -- you know, Officer Schmeltz says he doesn't give it

     21   a lot of attention because it could be inaccurate.

     22               But it was something the government thought was

     23   important to bring -- at least to mark as an exhibit and to

     24   bring to the Court's attention and we have never been provided

     25   any reason about why we are not permitted access to this report
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      1   that the government thinks is important.

      2               THE COURT:   Okay.

      3               MS. FITZHARRIS:    The third -- you know, I would say

      4   this is also relevant to the question about reasonable

      5   suspicion, probable cause.

      6               The next category of materials have to do with

      7   counter-terrorism training materials.          We asked for this

      8   information because a number of these officers are part of

      9   various counter-terrorism units; the Joint Terrorism Task

     10   Force, the Tactical Terrorism Response Team and any number.

     11   There are a lot.

     12               THE COURT:   Why do you need these?

     13               MS. FITZHARRIS:    These were mentioned as part of their

     14   training.

     15               THE COURT:   Right.

     16               MS. FITZHARRIS:    And a lot of this has been -- this

     17   goes to the question, again, what level of suspicion, what

     18   reasons they had other than stereotypes or, you know, gut

     19   feelings about Yousef Ramadan that caused them to search the

     20   computer.    And so that is why we've asked for them.

     21               The next category of information is the evidence

     22   retention policies for the various agencies involved.              That

     23   would be FBI, HSI, CBP, the Joint Terrorism Task Force and the

     24   TTRT and, frankly, any of the federal agencies involved.

     25               This has to do with the fact that pretty significant
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      1   evidence has been destroyed in this case; the video, Officer

      2   Armentrout's notes.       We don't know if there were other notes

      3   taken and have been destroyed.        And one of the issues this

      4   Court has to decide in the motion to dismiss the indictment or

      5   some other sanction for the destruction of critical evidence is

      6   the good or bad faith of the government.

      7               There was some suggestion that Officer Schmeltz

      8   shredded Officer Armentrout's notes because that's his usual

      9   practice.    We'd like to see what the usual practice is.            We

     10   would like to see what the practice is about seeking out video

     11   and when agents from the FBI or HSI are told it is important to

     12   report interviews.       So we think that is directly relevant to

     13   the motion to dismiss.       But, frankly, also to the question

     14   surrounding voluntariness of Mr. Ramadan's statements.              I think

     15   it's undisputed he did not receive Miranda warnings.             And,

     16   frankly, also to the question of whether he was in custody,

     17   which I know is being litigated.

     18               Then there's the -- we are also seeking Giglio

     19   material.

     20               THE COURT:    Pardon?

     21               MS. FITZHARRIS:    The Giglio materials.        And those are

     22   for Special Agent Michael Thomas, CBP Officer James Brown,

     23   Officer Matthew Robinson, Officer Vasher, Officer Schmeltz,

     24   Officer Armentrout and Officer Kelly.

     25               The first two names I have mentioned are the two
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      1   witnesses we have subpoenaed to testify at the next evidentiary

      2   hearing over some protests.       We were, as you know, very

      3   surprised when the government did not call them as witnesses.

      4              The others are agents who have already testified.               And

      5   the reason we have asked for that material after learning that

      6   the government has Giglio materials, at least with respect to

      7   Agent Thomas, is that --

      8              THE COURT:    What Giglio materials does the government

      9   have?   What are you talking about after learning that they have

     10   them?

     11              MS. FITZHARRIS:     Agent Thomas was apparently involved

     12   in the Koubriti case and he ...

     13              Would you like me to continue?

     14              THE COURT:    No.   Not unless you have -- I mean, I know

     15   about that.    But anything else you have about these officers?

     16              MS. FITZHARRIS:     No.   But we have no guarantees that

     17   they have either done Giglio checks or have turned over

     18   anything that they may have found.           In fact, the government's

     19   position is that we are not entitled to Giglio materials of any

     20   kind at a suppression hearing.

     21              We have asked for those out of an abundance of

     22   caution.    And, frankly, if the government is willing to

     23   represent to the Court that it has conducted Giglio checks with

     24   respect to the officers who have already testified and that

     25   they have not found anything, then we are satisfied with that.
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      1   There's no need for the Court to order the disclosure of those

      2   materials.

      3              THE COURT:    But you're saying if they agree that they

      4   have already done a check and found nothing?

      5              MS. FITZHARRIS:       Correct.

      6              THE COURT:    Well, then there's no materials to give.

      7              MS. FITZHARRIS:       But we don't have those

      8   representations.     And we're asking -- all we're asking for is a

      9   representation to the Court that the government has followed

     10   its Giglio check procedures with respect to those agents.

     11              And the same with respect to Officer Brown.             If the

     12   government has conducted a Giglio check and has not discovered

     13   anything that would come back, we don't need to argue much

     14   about that further.      What we know, however, is that there are

     15   Giglio materials about Agent Thomas.

     16              You know, the final issue is what sanction is

     17   appropriate for the government's failure to turn over Officer

     18   Robinson's statements after he testified on direct examination

     19   and after we specifically requested those materials in time for

     20   use.

     21              THE COURT:    Okay.

     22              MS. FITZHARRIS:       All right.    So in terms of what

     23   authority, we think -- why Mr. Ramadan is entitled to these

     24   materials.    I'm going to begin with Giglio and Brady, the due

     25   process clause, which requires that the government --
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      1               THE COURT:   Tell me which number.       I can look that up.

      2   Is it 50?    55?

      3               MS. FITZHARRIS:    Yes.   So that is going to be 55.           The

      4   government's response is 66 and our reply is at 67.

      5               Due process clause requires the proceedings be fair.

      6   So the holding or misrepresentation of the Court -- of events

      7   in any criminal proceeding is not fair without disclosure.                 The

      8   government wants to limit its disclosure obligations to trial,

      9   but the case law, and the reasons behind the due process laws

     10   and the Giglio and Brady line of cases don't back that up.

     11               And their reply brief went into some comparison

     12   between the Brady line of cases and ineffective assistance of

     13   counsel cases, which are both ultimately concerned that

     14   process, the criminal proceedings, are fundamentally fair.

     15               And the Supreme Court has said that even if a motion

     16   to suppress doesn't have much to do with the guilt or innocence

     17   of the defendant, if an attorney performs deficiently at a

     18   pretrial motion stage and misses a meritorious Fourth Amendment

     19   motion, that results in fundamental unfairness and requires

     20   reversal.    The prejudice inquiry is tailored to the specific

     21   proceeding at issue, which is the pretrial proceeding.

     22               And I think that same logic applies in full force at a

     23   suppression hearing.      That it is incumbent on everybody

     24   involved in the criminal process that the suppression hearing,

     25   which is, you know, a very important, critical stage of the
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      1   proceeding, be fair.      And that the Court have the information

      2   necessary to turn it over.       But it's a lopsided -- but where we

      3   are right now is very lopsided.        The government has information

      4   that Yousef Ramadan does not have and cannot get.

      5               And Agent Thomas's credibility is important in this

      6   case.   He was one of the authors of the two reports that we

      7   received.    It's the only 302 that we have seen at all.              If you

      8   compare the warrant application to the 302, you'll see the

      9   language is very similar.       Agent Thomas's description of the

     10   interrogation and what Mr. Ramadan said and everything found

     11   and how supposedly voluntary it was, and all of that was drawn

     12   and put into the warrant.       So his credibility is pretty

     13   fundamental in this case.

     14               And Mr. Ramadan, defense counsel, we have no desire to

     15   relitigate Koubriti.      But we think it is very important to

     16   learn exactly what happened.

     17               THE COURT:   We're not going into Koubriti.           I'm

     18   telling you that right now.       There's no need to do that in this

     19   suppression hearing.

     20               MS. FITZHARRIS:    But we think that it is relevant to

     21   know about Agent Thomas's credibility.

     22               THE COURT:   But you know about this.          Is there

     23   something else?     Some other case or something?          I mean, you

     24   know about Koubriti.      This is public.

     25               MS. FITZHARRIS:    Very much of it is and very much of
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      1   it is not.    The criminal case is under seal.         It's not

      2   accessible on PACER.      I will tell you, Your Honor, I was in

      3   high school in Seattle Washington when Koubriti was going on.

      4   I do not know about Koubriti.

      5              I -- Mr. Densemo was not the counsel of record and

      6   it -- the government's accusations to the contrary, we take

      7   very personally and we think are unnecessary.              But that's kind

      8   of beside the point.      The point is that there is information

      9   about Agent Thomas's integrity, his willingness to

     10   potentially -- we don't know.        His potential willingness to

     11   testify under oath at trial and lie.           His willingness to

     12   destroy evidence and withhold it from the defense.

     13              These are really important questions in a case where

     14   we have destruction of evidence that we believe is beneficial

     15   to Mr. Ramadan.     And we have withholding of material until the

     16   last minute and where the credibility of the agents involved in

     17   the interrogation is pitted against Mr. Ramadan's credibility.

     18              We're not talking about a lengthy cross-examination,

     19   but we think that whether he was sanctioned -- and, you know,

     20   it's frankly also relevant to the question of good faith.                   You

     21   know, voluntariness inquiry has some subjective component to it

     22   that includes the agent's conduct.           And the government has

     23   asserted a very broad reading of the good faith exception to

     24   encompass something other than a warrant or a written down law.

     25              So we are entitled, Mr. Ramadan is entitled, to
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      1   examine and interrogate whether the agents involved in this

      2   case acted in good faith.       And I think this is very relevant.

      3   We are also -- we do not know if Agent Thomas has been involved

      4   in any other misconduct.       We do know not know if he was

      5   sanctioned.     We do not know if he was required to attend

      6   additional training about how to behave and how to preserve

      7   evidence.     All of this is in the FBI personnel files and not in

      8   the public record.

      9               The cases that the government cites are not to the

     10   contrary.     They have cited to -- you know, talked mostly about

     11   Supreme Court case law.       The Sixth Circuit has never addressed

     12   the question of whether Giglio and Brady line of cases require

     13   disclosure for -- in time for use in the suppression hearing.

     14               The Ninth Circuit has said that it is required.            The

     15   D.C. Court of Appeals -- which is like the D.C. Supreme Court.

     16   So all federal law is the same.        They have also reached that

     17   conclusion.     As has the Fifth Circuit.

     18               There is -- and the cases that they have cited are

     19   this case called Raddatz and Ruiz.           Raddatz is about the

     20   constitutionality of delegating authority to magistrate judges

     21   to conduct suppression hearings and whether it's constitutional

     22   for the district judge reviewing a report and recommendation

     23   not to conduct an additional de novo evidentiary hearing.

     24               What the court did is it looked at the -- in that

     25   case, it looked at the Matthew v. Eldridge factors and looked
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      1   up the rights of interest and what protections were in place

      2   and the harm it would cause to require some other procedure.

      3   And what the court said is that, well, you have de novo review

      4   by a district court.      Yes, a cold record is not as good as a

      5   live record, but with de novo review by an Article III judge,

      6   the interest, the Fourth and Fifth Amendment interest of a

      7   defendant are adequately protected at a suppression hearing.

      8              In Ruiz, the question was about whether there is a

      9   need to disclose Giglio materials before someone enters into a

     10   fast track plea agreement with the government.             Again, the

     11   Court looked at the Matthew v. Eldridge factors and looked at

     12   the interest at stake, the harm it might cause and what

     13   procedural protections were in place and said, well, we have

     14   Rule 11, which has a lot of protections baked into it that

     15   require the courts to go through the rights that the person is

     16   giving up.

     17              And those plea agreements actually had a specific

     18   provision that said that the government would turn over

     19   evidence that was relevant, exculpatory evidence.             So there

     20   were these procedures in place to ensure that the rights of

     21   people -- that people were waiving, were adequately protected.

     22              With respect to a pretrial suppression hearing and

     23   access to critical impeachment evidence and Brady material,

     24   there are no such protections in place.          We have what we can do

     25   with public records and we have investigators, but we don't
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      1   have access to a lot of what the government might know.

      2              And I think there would be nothing without the Brady

      3   or Giglio requirements to prevent the government from

      4   maneuvering and intentionally suppressing exculpatory evidence

      5   that is critical to determination of a pretrial motion

      6   beforehand.    There are no other mechanisms or safeguards in

      7   place.    The rights at issue, Mr. Ramadan's rights, his right to

      8   be free from unreasonable seizures and not to have compelled

      9   testimony used against him, those are vitally important.              And

     10   the Supreme Court's case law on Fourth Amendment and Fifth

     11   Amendment exclusionary ruling all bear this out.

     12              THE COURT:    Okay.

     13              MS. FITZHARRIS:       And it's already DOJ policy to

     14   require this disclosure.       So it's hard to see why this is so

     15   burdensome on the government.

     16              The other thing, I'm going to talk about is Rule 16.

     17   We believe Rule 16(e) -- 16 -- what is it?

     18              16(e)(1), romanette one, also requires disclosure of

     19   the things we'd asked for because these are materials,

     20   documents, books that are material to preparing the defense.

     21   Part of the defense is litigating what evidence is admissible

     22   at trial and whether it was lawfully obtained.

     23              And so we believe that Rule 16 requires, upon request,

     24   disclosure of certain issues that will help flush out those

     25   issues.
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                                                                                      23


      1               Now, with respect to Officer Armentrout's notes and

      2   the video recording.      Rule 16(b)(2) requires the government to

      3   disclose and make available any portion, written or recorded,

      4   record containing the substance of an oral statement made by

      5   the defendant before or after arrest, if the statement is made

      6   in response to interrogation by a person the defendant knew was

      7   a government agent.

      8               I think it's very clear that Mr. Ramadan knew that he

      9   was speaking to government agents when he was at the airport.

     10   It was -- you know, we're quibbling about whether he was under

     11   arrest.     We think he was under arrest.       The government

     12   disagrees.     But for Rule 16(b) that doesn't matter.

     13               So the government's response that he wasn't in

     14   custody, this wasn't a custodial interrogation is really beside

     15   the point.     That's not what Rule 16 requires.           And I think

     16   there's ample evidence in this record to show that Mr. Ramadan

     17   was in custody that I don't need to dive into now.              It's in the

     18   briefing.     But, I think handcuffs, he wasn't free to leave,

     19   nine hours, these are all facts that show this was a custodial

     20   interrogation.

     21               But those notes, they have been shredded.           That video

     22   gone.     Even though these are documents that are covered by Rule

     23   16(b)(2).

     24               Then there's the Court's inherent authority to manage

     25   discovery.     I think Your Honor has an interest in resolving
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      1   these issues accurately.       We -- there have been a lot of

      2   surprises in the litigation of this motion, these multiple

      3   motions.    And I think it is in Mr. Ramadan's interest, as in

      4   all of our interest, to ensure that we don't have any

      5   additional delays because of the fact that we have learned for

      6   the first time that we have not received evidence, and critical

      7   evidence, that bear on the questions related to these motions.

      8              Which is why we think that there needs to be some

      9   sanction for the government's failure to disclose Officer

     10   Robinson's report and E-mails.        After he testified on direct

     11   examination we learned for the first time that he wrote a

     12   report on cross-examination.       Mr. Densemo asked him to provide

     13   that report.     Later in cross-examination we learned that he

     14   sent E-mails that included the photos of -- and would have time

     15   stamps of when he took the photos of Mr. Ramadan's luggage.

     16              The time line is somewhat important.            There's been

     17   some dispute in the record about when exactly everything took

     18   place, how long.     You know, who was talking to Mr. Ramadan for

     19   how long, things like that.

     20              So we want -- we think those E-mails provide very

     21   critical information about when the information about the items

     22   in the luggage was communicated to other officers.              We didn't

     23   have it in time to question Mr. -- Officer Robinson about that.

     24   We didn't have the ability to explore why he didn't put things

     25   in the report that he was testifying to in the report.               And
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      1   this is not news to the government that this kind of practice

      2   is common in a criminal case.           This is how impeachment works.

      3   This is how we try to get to the bottom of things is through

      4   the crux of cross-examination and adversarial testing.              But we

      5   were deprived of the ability to do that.           And so we think some

      6   sanctions -- you know, the Rule 26.2(e) says that the testimony

      7   shall be stricken.      And so that is a remedy that is available

      8   to the Court.

      9              THE COURT:    Okay.     Are there other questions you want

     10   to ask Officer Robinson now that you have this information?

     11              MS. FITZHARRIS:       I think we -- you know, we don't want

     12   to delay things more.      We would -- I think it is --

     13              THE COURT:    Yes or no?

     14              MS. FITZHARRIS:       Yes.    There are things that we want

     15   to ask him.

     16              THE COURT:    Okay.     We can end this one.      You can bring

     17   him back in and you can ask questions now that you have the

     18   information.      We don't need further argument.

     19              MS. FITZHARRIS:       But I think it is part and parcel of

     20   what has been going on in this case where we have not been

     21   provided information to which Mr. Ramadan is --

     22              THE COURT:    All right.       Go on with your argument.

     23   You've already argued that, counsel.

     24              MS. FITZHARRIS:       Okay.    So there are a lot of various

     25   forms of relief that we have requested.           We have requested
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      1   production of requested materials that I outlined at the

      2   beginning.    That's to strike Robinson's testimony.           One remedy

      3   for the destruction of Mr. Ramadan's notes is to strike Officer

      4   Armentrout's testimony about Mr. Ramadan's statements.              There

      5   is suppression of Mr. Ramadan's statements for the Rule

      6   16(b)(2) violation.      That is a remedy available that we have

      7   requested.    We've also requested an adverse credibility

      8   inference related to government witnesses' testimony for the

      9   destruction of the video.

     10               We also think one might be appropriate for the

     11   destruction of Officer Armentrout's notes.          We've also asked

     12   for a dismissal of the indictment.

     13               Before I finish up, this case has gotten very

     14   personal.    The government has made a lot of attacks on

     15   Mr. Densemo's integrity and my integrity that are unwarranted

     16   and unfounded.     As I mentioned before, I was far away and quite

     17   young during the Koubriti case.

     18               It has never been our intention for bringing Agent

     19   Thomas on for the sole purpose of impeaching him.             We are

     20   asking for the agent's Giglio materials because Mr. Ramadan is

     21   entitled to them and the government's accusations to the

     22   contrary are completely unnecessary.

     23               But it really speaks more to the way the government

     24   has treated Mr. Ramadan from the beginning.           It's decided on

     25   who he was and it's been unwilling to reconsider anything about
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      1   who he is from the beginning even when he provided reasonable

      2   explanations.

      3              And so we think some sanction is in order and

      4   certainly Mr. Ramadan is entitled to access the information

      5   we've requested.     Unless the Court has any other questions, I

      6   think I'm done.

      7              THE COURT:    Thank you.

      8              Response?

      9              MR. MARTIN:     Your Honor, I'd like to start with some

     10   basic legal principles about discovery because that's what all

     11   these disputes are about, discovery disputes.              And they all are

     12   discovery disputes about the defendant's ability to litigate a

     13   motion to suppress.

     14              We're not here on discovery disputes about whether the

     15   defendant is guilty of the crime charged which, as you know, is

     16   the possession of two firearms in a storage locker a week after

     17   the events at the airport, and those firearms had obliterated

     18   serial numbers.     That's the crime.        And very little, if any

     19   of -- none of what they actually seek in their discovery

     20   request goes to the guilt.       Goes to the question of whether or

     21   not he's guilty of that offense or innocent.

     22              It goes to their effort to litigate a suppression

     23   issue.   Did the agents have probable cause to search the

     24   electronic devices?      Did they need a warrant?          All of those are

     25   separate from questions of guilt.        Did the agents coerce
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      1   statements out of him?      Did they Mirandize him?        Were they

      2   required to Mirandize him?       All those questions are suppression

      3   questions and important and have to be resolved by the Court,

      4   but they don't go to guilt.

      5              And all of the discovery obligations the government

      6   has vis-a-vis Brady and vis-a-vis these Rule 16 provisions that

      7   the defense has cited, go to questions of guilt.

      8              I want to start with Brady and the due process clause.

      9   Brady and Giglio are based on the Fifth and Fourteenth

     10   Amendment, the due process clause which protects life and

     11   liberty.    And when applied to the criminal context, the Supreme

     12   Court said in Brady that evidence must be turned over under the

     13   due process clause if it's related to material -- excuse me.

     14   It's material either to guilt or punishment.

     15              And Brady was decided in 1963.         And in a decade since,

     16   case after case after case all the way up to the present, the

     17   most recent one I found was 2017.        It's cited in our brief.

     18   The Supreme Court has always described the Brady obligation as

     19   evidence that pertains to guilt or punishment.

     20              The overriding concern -- that's a quote -- is with

     21   the justice of the finding of guilt.          That's United States v.

     22   Agurs, a 1976 Supreme Court case.

     23              The due process clause requires the government to

     24   produce discovery when it, quote, might affect the outcome of

     25   the trial, end quote.      That's United States v. Bagley, another
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      1   Supreme Court case from 1985.

      2              United States v. Ruiz, a 2002 decision described the

      3   Brady right to evidence as, quote, a trial related right, end

      4   quote.

      5              Time and again, it's focused on trials.            It's not

      6   focused on pretrial litigation.        And that is the Ruiz case that

      7   defense counsel mentioned.       It's one of, I think, the most

      8   illustrative cases we have because it involved a situation

      9   where a defendant wanted Giglio information, impeachment

     10   information, before trial before the defendant decided to plead

     11   guilty or not.     And the argument was, well, getting impeachment

     12   information is very important to a defendant before they

     13   testify so they can know and make an informed decision -- or

     14   excuse me.    Before they pled guilty, whether the information is

     15   important so that they can make an informed and full decision

     16   about whether or not to plead guilty or not.

     17              That was the argument that they made to the court and

     18   the Supreme Court rejected that.

     19              THE COURT:    But in this case, is it not -- I'm

     20   assuming what they're trying to show with this evidence is that

     21   these individuals are not credible and therefore, for

     22   instance -- I'm going to give you an example.              Because we have

     23   not heard from the defendant.

     24              I think the allegation was he was assaulted or beat up

     25   or something to that effect.
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      1              MR. MARTIN:     That is his allegation, yes.

      2              THE COURT:    So if the officers say, "No, he was fine.

      3   Nobody touched him" and he says, "No, I was beat up," then

      4   there's a question of who is telling the truth.            Because what

      5   is important is what comes out; that is, that statement -- I'm

      6   not even sure yet.

      7              But some statement about where the guns are or he had

      8   guns or where the guns might be.

      9              MR. MARTIN:     Right.

     10              THE COURT:    Right?     Isn't that the scenario?

     11              MR. MARTIN:     Yes.   Yes.

     12              THE COURT:    So the credibility of the witnesses is

     13   important?

     14              MR. MARTIN:     It is.

     15              THE COURT:    In this case?

     16              MR. MARTIN:     It is.

     17              THE COURT:    And isn't this information important to

     18   the credibility issue?

     19              MR. MARTIN:     The answer is no on both counts.

     20              Credibility is important in this case.           But there's a

     21   much, much -- there's a bigger question for you to answer.                 And

     22   that is, does the Constitution of the United States require

     23   disclosure of, say, Giglio information in a suppression hearing

     24   when the defense calls the witnesses?

     25              THE COURT:    Has there been a case that was a
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      1   suppression hearing where this issue came up?

      2              MR. MARTIN:     Not with respect to Giglio.        But there

      3   has been Supreme Court cases that have looked at the balance of

      4   due process in the suppression hearing context and said the due

      5   process clause does not require disclosure in a suppression

      6   hearing because the due process clause is concerned with guilt

      7   at trial and suppression hearings do not carry with the same

      8   type of due process protections that one would have at a trial.

      9   That is the United States v. Raddatz case, a 1980 Supreme Court

     10   case.

     11              And here's what it said, quote, of course the

     12   resolution of a suppression motion can and often does determine

     13   the outcome of the case.       This may be true of various pretrial

     14   motions, end quote.

     15              However, the Supreme Court went on to say, quote, the

     16   suppression hearings, quote, have nothing whatever to do with

     17   improving the reliability of jury verdicts and, quote, they do

     18   not coincide with the criminal law objective of determining

     19   guilt or innocence.

     20              And the Supreme Court said that is why, for example,

     21   we allow hearsay at a suppression hearing but we would never

     22   allow that for trial.      Or sometimes in a trial the government

     23   must disclose the identity of the confidential informant so the

     24   defense can present their defense at trial, but a confidential

     25   informant's identity is never required to be disclosed at a
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      1   suppression hearing.

      2               There's different standards that apply at a

      3   suppression hearing.      And why is that?      Well, it's because the

      4   interests at steak are different.        At a suppression hearing

      5   you're trying to figure out, yes, you are making factual

      6   determinations and credibility is important.           But ultimately

      7   what you're deciding are legal issues.          Does the Fourth

      8   Amendment apply?     Should the person be Mirandized or not?

      9               You're not deciding the ultimate question of guilt or

     10   innocence.    And so the due process concerns are not as strong

     11   in a suppression hearing as they are in a trial scenario.                  And

     12   the due process clause is primarily focused on trial.              That is

     13   what it's trying to protect, the fairness of the trial.              And

     14   the Supreme Court says that over and over again.

     15               Imagine if the due process clause applied to all

     16   aspects of a pretrial hearing where a credibility or a witness

     17   might testify.     And also think, Your Honor, that if that is the

     18   case, that means all state courts, all state prosecutors must

     19   follow that as well.

     20               It's not designed to do that.       It would be a radical

     21   departure for this Court to say the United States Constitution

     22   requires disclosure under the due process clause in this

     23   scenario.    And that decision would apply not only to our office

     24   but every county in this district, every local prosecutor.

     25               The due process clause sets a bear minimum of
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      1   fairness, but allows for experimentation at other levels of a

      2   criminal proceeding that don't involve that ultimate question

      3   of guilt or innocence.      And so the defense can cite to you no

      4   case that has said that the due process clause applies to a

      5   suppression hearing with the exception of a couple of circuits.

      6   And those circuits, the rationale underlying those, is directly

      7   at odds with our circuit.

      8              Our circuit has towed very strictly to the line of the

      9   Supreme Court saying that the due process clause applies to

     10   trials and to evidence that goes to guilt or innocence, and not

     11   just anything that might help a defendant in a pretrial

     12   litigation or even something that might help the defendant at a

     13   trial.

     14              And the case that I think -- I thought of -- that

     15   first came to my mind when I was preparing for today was a case

     16   I had before Your Honor many years ago now.           It was the case of

     17   the United States v. Dawn Hanna.        It was an export control

     18   case, export control violation case.          The defendant was

     19   convicted.    After trial she moved for a new trial before the

     20   court saying, "I have now discovered new evidence and the

     21   government had possession of this evidence and has committed a

     22   Brady violation.     I was entitled to this under the due process

     23   clause.    And the evidence was that my co-conspirator worked for

     24   the CIA and the government had all these files about how my

     25   co-conspirator worked for the CIA and I was entitled to that."
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      1              When we litigated that before Your Honor, it was very

      2   similar to this case in that the defense's position was that

      3   materiality under Brady and under due process applied not just

      4   to the questions of guilt or innocence, but to anything that

      5   might have helped them in trial.

      6              You denied that motion.       Finding that, no, this new

      7   alleged evidence did not negate any of the elements that the

      8   defendant was convicted of and, therefore, did not implicate

      9   Brady.   She appealed.     That case went to the Sixth Circuit in

     10   2011 and the Sixth Circuit affirmed the conviction and

     11   addressed this specific issue.        She raised the same issue about

     12   her co-conspirator that was raised before Your Honor.

     13              The Sixth Circuit affirmed the conviction and affirmed

     14   your decision.     And it did so because it adhered to that strict

     15   line that due process and Brady applies to guilt.

     16              And here's what they say:         Quote, there's no

     17   constitutional duty of a prosecutor to disclose everything that

     18   might influence a jury.       The mere possibility of an item of

     19   undisclosed information might have helped the defense or might

     20   have effected the outcome of the trial, does not establish

     21   materiality in the constitutional sense.          Instead, the evidence

     22   must be material either to guilt or punishment.

     23              They were saying, as you said before, and as I am

     24   arguing all these line of cases, Brady is interested in the

     25   fairness of your guilt.       Not the fairness of your detention
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      1   hearing or your suppression hearing or your discovery motions

      2   and things like that.

      3              So the Constitution has a very limited application

      4   here and I do not believe any of these materials are

      5   discoverable as a constitutional matter.

      6              As to Rule 16, there is one rule that the defendants

      7   cite as a basis for requiring disclosure.          Actually, there's

      8   two rules.    One with respect to Officer Armentrout.           I'll talk

      9   about that in a minute.

     10              But the other rule is with respect to the documents

     11   they want.    The CBP tip, the evidence retention policies, the

     12   counter-terrorism policies.       And that's rule 16(a)(1)(E) which

     13   requires the government to disclose documents that are, quote,

     14   material to preparing the defense.

     15              There is a Supreme Court case on this particular rule

     16   that defines what "the defense" means.          And "the defense,"

     17   according to U.S. v. Armstrong, which is a Supreme Court case,

     18   means claims that -- or any evidence -- that negates the

     19   government's case in chief.       Case in chief, at trial,

     20   obviously.

     21              And I want to illustrate how narrow that is.            And I'm

     22   going to actually use a case that the defense cites.             It's a

     23   Sixth Circuit case, United States v. Lichens 428 Federal

     24   Appendix 621.     It's a 2011 case.     And it was -- I'm just going

     25   to illustrate this with some facts.          It was a felon in
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      1   possession of a firearm case.        The case went to trial.        The

      2   government proved its case.       When the defense put on their

      3   case, the defendant testified and said, "I don't possess guns.

      4   I don't have anything to do with guns.          I certainly didn't

      5   possess the one you charged me with."

      6              In the government rebuttal case they introduced a

      7   photograph of the defendant holding a rifle.           Not the firearm

      8   he was charged with, but just some other rifle to rebut his

      9   testimony that "I don't have anything to do with guns.              I never

     10   possessed guns."

     11              The government had not provided that photograph in

     12   discovery.    The first time the defense saw it was when it was

     13   shown in rebuttal.      And they said, "Whoa, Rule 16 violation.

     14   This was material to preparing my defense."

     15              And the Sixth Circuit in Lichen said, no, it's not.

     16   Because under this Armstrong, the Supreme Court Armstrong

     17   opinion, "the defense" under Rule 16 means your rebuttal to the

     18   government's case in chief.       Not anything the government might

     19   use in its rebuttal case.

     20              That's how narrow the Sixth Circuit has read "the

     21   defense" under Rule 16.

     22              So taking that and applying it to our case, these

     23   suppression issues have nothing to do with rebutting the

     24   government's case in chief, meaning his guilt or innocence of

     25   possessing the firearms in the storage locker.
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      1              So for that reason, that Rule 16 does not apply.                That

      2   part of Rule 16 does not apply.        And there was -- I litigated

      3   this exact question before Judge Cox in 2014 in the case United

      4   States v. Hermes.     I only have the Westlaw cite, which I'll

      5   read into the record.      It's 2014 WL 3440323.

      6              And the question was:      Does Rule 16, this particular

      7   rule in Rule 16, apply to suppression hearings?            Does the

      8   government have to give over anything that might help the

      9   defense in a suppression hearing?        And Judge Cox for the

     10   reasons I just articulated says, no, it does not.             That rule in

     11   Rule 16 does not apply to suppression hearings.            Because it is

     12   not responding to the government's, quote, case in chief.

     13              The other Rule 16 that the defendants point to has to

     14   do with Officer Armentrout's notes.          Just by way of background,

     15   Officer Armentrout was the officer who testified he was the one

     16   who participated in an interview of the defendant with Officer

     17   Schmeltz and then after several minutes he left the interview

     18   and began reviewing the defendant's electronic media in a

     19   separate room.     So he participated in an interview for a short

     20   period of time and then he leaves and he goes and conducts the

     21   examination of the electronic devices.

     22              During the short period of time he was in the

     23   interview, he testified that he took notes.           That he gave his

     24   notes to Officer Schmeltz.       Officer Schmeltz testified that he

     25   looked at the notes, he incorporated what limited information
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      1   there was in those notes into his report, being Officer

      2   Schmeltz's report, and then he destroyed the notes.

      3               So the defense argument is that the notes that Officer

      4   Armentrout took were discoverable under Rule 16, specifically,

      5   Rule 16(a)(1)(B) which requires that any record of a

      6   defendant's oral statement that was made, quote, in response to

      7   interrogation, end quote, must be turned over.

      8               So the two parties are in dispute as to what that

      9   phrase means in response to interrogation.          It's not defined in

     10   Rule 16, but the Sixth Circuit has said that they're going to

     11   import the standard for determining whether a statement was

     12   made in response to an interrogation from a Supreme Court case

     13   called Rhode Island v. Innis, 446 U.S. 291 (1980).

     14               And the Sixth Circuit case that said they were

     15   importing was Smith v. United States.          And that's at 285

     16   Fed.Appx. 209.     It's a 2008 case.

     17               So the Sixth Circuit says, Rule 16 doesn't define what

     18   interrogation means so we're going to use this definition given

     19   by the Supreme Court in Rhode Island v. Innis.             And Rhode

     20   Island v. Innis was a Miranda case where the defendant was

     21   arrested.     He was in custody.

     22               And in that case, it says that, quote, Miranda

     23   safeguards come into play whenever a person in custody is

     24   subject to either express questioning or its functional

     25   equivalent.
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      1              We all know that the word "interrogation" is a term of

      2   art in our business.      It's a term that has special meaning.

      3   It's not just anytime somebody is asked questions by law

      4   enforcement, but it's when you're in custody and you're being

      5   asked either express questions or the functional equivalent of

      6   expressed questions.

      7              The Innis court, the Supreme Court in Innis said that

      8   Miranda safeguards were designed to invest a suspect in custody

      9   with a added measure against police practices and that's why

     10   they require Miranda because you're in police custody and

     11   you're being questioned.

     12              So if that standard applies here, then Officer

     13   Armentrout's notes were not discoverable under the Rule because

     14   Mr. Ramadan was not being interrogated, as that term of art is

     15   used, because he was not in custody.          We're litigating that

     16   issue with respect to the defendant's motion to suppress for a

     17   violation of not giving him Miranda warnings.              So that issue is

     18   going to come up for you again of whether or not he was in

     19   custody or not.

     20              But there's a Sixth Circuit case right on point,

     21   United States v. Galloway, 316 F.3d 624.          It's a 2003 case.

     22   And it says, quote, a secondary Customs inspection is a routine

     23   noncustodial detention.

     24              When a Customs officer detains someone to look in

     25   their bags or ask them questions about where they're going or
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      1   what they're doing or what their plans are or what they've

      2   brought into the country, that person is not in custody for the

      3   purposes of Miranda.      And the Sixth Circuit has so held.          And

      4   if they're not in custody, then they're not being interrogated

      5   under that Supreme Court Innis case and, therefore, Rule 16

      6   doesn't apply.

      7              But let me just say this:         Even if Rule 16 did apply,

      8   and even if whenever a Customs officer asked somebody questions

      9   they have to make sure they keep their notes in case a week

     10   later a defendant commits a crime and there's a federal

     11   prosecution, which is the situation we have here, even if Rule

     12   16 applies, you still have the harmless error standard under

     13   Federal Rule of Criminal Procedure 52, which says that

     14   violations of Rule 16, if they're harmless, should have no

     15   impact on the case and should not result in any kind of

     16   sanction for the government.

     17              So what is considered harmless?         Well, in applying

     18   rule in -- excuse me, Your Honor.

     19              Any error in complying with Rule 16 is considered

     20   harmless unless the error has a constitutional significance.

     21   Meaning, that it effects the verdict.          And that's a case,

     22   United States v. Brinson, which we've cited, a Sixth Circuit

     23   case from 2006.

     24              The focus of Rule 16 is on accurately determining

     25   guilt or innocence.      And the rule was not meant to extend to
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      1   issues that don't impact the defendant's culpability.

      2              So now we're kind of coming full circle to where I

      3   started which is where the due process clause comes into play

      4   and Rule 16 sort of tracks each other in this regard.              How

      5   would Officer Armentrout's notes change the verdict in this

      6   case when Officer Armentrout has no information or knowledge

      7   about the possession of obliterated guns with obliterated

      8   serial numbers in a storage locker a week after the events?

      9   They?   Didn't ask him any questions about obliterated firearms.

     10   They didn't know at the time he had obliterated firearms.

     11   There's no indication about obliterated firearms.             So it's

     12   really farfetched.      So any error that might have occurred with

     13   respect to his notes would be harmless.

     14              Now that I have gone over this law let me go back over

     15   the specific items that the defense has requested.             The list of

     16   CBP government officers, they want a list of every government

     17   agent who was involved, they say.        That's their word, involved,

     18   with Mr. Ramadan at the airport.        The defense cites no case or

     19   rule of discovery that would allow them access to that list.

     20              There are cases directly to the contrary.           United

     21   States v. Perkin, a Sixth Circuit case from 1993 says, quote,

     22   defendant is not entitled to a list of the names of the

     23   government's witness.

     24              That rule is, in my experience, traditionally followed

     25   in our courthouse.      Even for trial purposes.       Usually it's done
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      1   for convenience, you know, a week or two weeks or something

      2   before the trial, but certainly not for a suppression.              I've

      3   never heard of a defendant saying, "I want a list of anybody

      4   that was in any way involved in this case."

      5              They have no legal support for that whatsoever.             No

      6   case requiring that and it being granted.          I did cite two

      7   recent cases from our district which have adhered to the rule

      8   that courts uniformly held that Brady, the Jencks Act or Rule

      9   16 do not require the government to produce a witness list in

     10   advance of trial.

     11              And they're doing that.       They want that

     12   list because -- and they're explicit about it.             They want that

     13   list because they want to start filing more discovery requests

     14   to further litigate discovery in the suppression context.

     15              The Customs and Border tip that they want, the

     16   government provided them a redacted copy.          They are now asking

     17   for an unredacted copy because they believe the portions that

     18   the government redacted contained information about how the

     19   government investigated the tip and the tip was not true.

     20   That's not what is in the redacted portions.           The redacted

     21   portions are personal, identifying information, addresses,

     22   phone numbers, Social Security numbers, dates of birth of

     23   different people and things of that nature.           The redacted

     24   portions of the tip do not contain any information that would

     25   show the government investigated a tip and the tip was false.
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      1   That's not --

      2              THE COURT:    What information did the officer have when

      3   he looked at the tip?      What comes up on the tip?

      4              MR. MARTIN:     I think the testimony in the hearing was

      5   just a few lines.     Like an introductory sentence or two.

      6              THE COURT:    So how does one get the whole tip?

      7              MR. MARTIN:     I don't know how the officer at the time

      8   would get the whole tip.       But I do know his testimony was he

      9   didn't see the whole tip.       And there was a back and forth

     10   between the Court and the officer.           And I think you asked him

     11   directly, "Did you see the whole tip and do you know if it's

     12   true or not?"

     13              And he said, "I don't know if it's true.           I just read

     14   the first few lines.      And here's what they were."         That was the

     15   extent of it.

     16              So he didn't see the redacted portions anyways.             So

     17   whether the tip is true or not -- and again, whether the tip is

     18   true or not is a question that gets into whether they had

     19   probable cause and reasonable suspicion to search the

     20   electronic devices.      Which is why I said at the beginning, if

     21   no warrant is required and no reasonable suspicion is required,

     22   then what difference does the tip make at all?             So that's why I

     23   said resolving that legal question on the Fourth Amendment is

     24   so important.

     25              The training materials for terrorism training, this is
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      1   in the same boat as the tip in that it goes to whether or not

      2   the agents were searching his -- if I understand the argument

      3   correctly, I believe it's whether or not the agents were

      4   searching his electronic devices because they had biases

      5   against Muslim people and things of that nature and therefore

      6   they have to get information about what kind of terrorism

      7   training these officers had.

      8              I have a couple of responses to that.           The first is a

      9   practical response.      And that is, the defense -- if the

     10   officer's training was so important to the defense, why didn't

     11   they ask the officers questions about their training when they

     12   testified?    Officer Armentrout, who looked at the electronic

     13   device, testified for a lengthy period of time in this

     14   courtroom.    The defense asked him many, many questions.            Not

     15   one -- I have gone back through the transcript.            They never

     16   asked him one question about what his training was for

     17   terrorism.    Not one.

     18              And as a result, they have laid no foundation for what

     19   type of training materials they would want.           What training

     20   materials has he seen?      We don't know because they didn't ask

     21   him.   And yet they offer to the Court that this is somehow so

     22   critical to determine whether he had probable cause or whether

     23   he was, essentially, a racist or not.

     24              Well, he testified.      They can ask him questions about

     25   his biases and all that.       And they did ask him questions about
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      1   that, but this training material has nothing to do with whether

      2   or not he could under the law search those computers.              Because

      3   now we're back to the border search question, which is a legal

      4   question.     But more importantly, the defense, when they had the

      5   opportunity to conduct the cross-examination, didn't even

      6   bother.     So now they want the government to search its files

      7   for training materials that they didn't even bother to bring

      8   out on cross.

      9               The evidence retention materials that they want, this

     10   is primarily about this video.        And I want to give the Court

     11   some background because this is the first time I have addressed

     12   the Court about the video.       We -- the defense filed a motion to

     13   dismiss the indictment because the government allegedly

     14   destroyed video from inside the airport that they say is

     15   exculpatory.

     16               That was docket number 32.       That was their motion to

     17   dismiss.

     18               We filed a response and that response we attached an

     19   affidavit from the Director of Security at the Wayne County

     20   Airport Authority, which is an independent state agency that

     21   runs the airport.     All of the video cameras -- and there's

     22   hundreds, if not over a thousand video cameras in the Detroit

     23   Metropolitan Airport.

     24               Those are all operated and controlled and run by the

     25   Wayne County Airport Authority, including the video cameras in
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      1   the secondary Customs inspection area.          The Wayne County

      2   Airport Authority records that video and retains it and then,

      3   pursuant to their internal policy, destroys the video after

      4   seven days.    And you can understand that if they have over a

      5   thousand cameras in that airport, why they can't just hold on

      6   to that video indefinitely, just the sheer volume of it.

      7              None of those facts are contested.         The defense would

      8   have you believe that it is the government's responsibility to

      9   possess and retain video evidence that is in the possession of

     10   a third-party.     And there is no law that requires that or holds

     11   to that effect.

     12              There is a series of cases and a legal doctrine that

     13   is developed around the destruction of evidence.              The primary

     14   case on that is a Supreme Court case called California v.

     15   Trombetta.    It's from 1984.     And it says that the due process

     16   clause does require the government to preserve evidence if it

     17   has a standard of constitutional materiality.

     18              And to have this standard of constitutional

     19   materiality, the evidence has to meet three requirements.                   And

     20   the first is that it's exculpatory, exculpatory to guilt.

     21              So let's back up.      The video evidence of

     22   Mr. Ramadan -- and there is only video.          There's no audio

     23   that's attested to in the affidavit.          It's just video of what

     24   is going on in the secondary inspection area.              There's nothing

     25   that is going to be on that video that tells you whether or not
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      1   Mr. Ramadan possessed firearms in a storage locker a week

      2   later.   There's no picture or image captured in that video that

      3   tells you whether he is or isn't guilty of the crime charged.

      4   So it doesn't even meet the first requirement.

      5              Second, the second requirement is that the exculpatory

      6   nature of the evidence has to have been apparent before the

      7   evidence was destroyed.       Well, Mr. Ramadan didn't commit the

      8   crime.   The guns that he's charged with were not found for a

      9   week after the event at the airport.          So how would the officers

     10   know at the time that the video of him just moving about the

     11   secondary inspection area, just walking around or going here or

     12   going there or sitting in a conference room talking to agents

     13   would be exculpatory to guns that he possessed a week later in

     14   a storage locker in Ann Arbor.        It doesn't meet that

     15   requirement.

     16              And then the third requirement is that the defendant

     17   is unable to obtain comparable evidence by other reasonably

     18   available means.     And there are numerous cases which we cite in

     19   our brief that point out, well, maybe this evidence is

     20   exculpatory, but the defendant already knows about it and he

     21   can testify to it.      So, therefore, it's available to him by

     22   other means or maybe the defendant could call another witness

     23   like his wife who was present and can tell the Court about how

     24   he moved around the secondary inspection area, if that's

     25   important, or the defense can cross-examine government
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      1   witnesses about what happened in the secondary inspection area.

      2   And because he has that ability, due process does not require

      3   the government to hand over -- or to preserve that evidence.

      4              But all of these cases assume that the evidence is

      5   actually in the government's possession to begin with.              And

      6   here we don't even have that because it's the Wayne County

      7   Airport Authority that possessed the video and then destroyed

      8   it on their own.     And the affidavit says very clearly that no

      9   one from the government instructed Wayne County Airport

     10   Authority to destroy the video.

     11              And at the last hearing we had on the suppression

     12   hearing, Agent Banach, who is in court today, testified.              And

     13   Mr. Densemo asked him on cross-examination about, you know,

     14   when he first learned about the video.          And I believe Agent

     15   Banach's response was, "When you first requested it months

     16   later."

     17              The FBI wasn't out there trying to destroy this video.

     18   So under the law that does exist, the video is not even

     19   discoverable.     So why the government should then provide the

     20   defense with retention policies of evidence when the video is

     21   not even discoverable in the first place is a little far

     22   afield.

     23              Lastly, I want to talk about Officer Robinson.             I

     24   think the Court already said -- indicated that we would just

     25   call him back and they can ask him whatever questions.
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      1               He will be available.       We'll have him at the next

      2   evidentiary hearing.      I would just point out, we have provided

      3   the Court with a copy of his report and there's really no

      4   material difference between that.          Your Honor can look at it if

      5   you want.

      6               The defense never even asked in their motion.           If they

      7   wanted to ask additional questions, we'll be happy to have him

      8   back here.

      9               THE COURT:    Okay.

     10               MR. MARTIN:    Does the Court have any further questions

     11   for me?

     12               THE COURT:    No.   Thank you.

     13               MR. MARTIN:    Okay.

     14               THE COURT:    Reply?

     15               MS. FITZHARRIS:     Yes.    The government will very likely

     16   introduce Mr. Ramadan's statements they gave at the airport at

     17   the case in chief because they are statements about the

     18   location of the storage unit.          The government would not know

     19   about the storage unit, would not know about guns, would not

     20   know even where to go but for Mr. Ramadan's statements at the

     21   airport.

     22               So to say that these motions and this video evidence

     23   and everything that we're asking for is not connected to the

     24   government's case in chief, is just incorrect.             Again, they

     25   will undoubtedly introduce them to prove knowledge.
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      1              The guns themselves are integral to the government's

      2   case in chief.     And so whether those guns were obtained

      3   lawfully is squarely -- is a huge part of this case.

      4              THE COURT:    But if you have a video without audio, how

      5   are you going to -- I mean, it's only going to show people

      6   moving around.

      7              MS. FITZHARRIS:      Well, that goes to the question of

      8   how long he was -- there are issues of how long he was

      9   handcuffed, whether he was assaulted, the circumstances

     10   surrounding everything.

     11              The other thing I will tell you is that Mr. Densemo

     12   and I went to those rooms.       There are microphones in those

     13   rooms.   There are video recording devices in every room and

     14   microphones.

     15              THE COURT:    But it wasn't recorded.       There's no

     16   evidence that it was recorded.        Video, I mean.       Or audio

     17   recorded, right?

     18              MS. FITZHARRIS:      Um ...

     19              MR. MARTIN:     Correct.

     20              MS. FITZHARRIS:      Other than the government's

     21   representations, I don't understand how we're supposed to

     22   verify that.     As far as --

     23              THE COURT:    Well, maybe you can't.       But we can't

     24   assume that this was recorded.        I mean, normally, the FBI

     25   generally doesn't record their statements.          This has been a
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      1   subject of discussion many times.        So, you know, to say we have

      2   to assume because there was recording equipment it was

      3   recorded, doesn't --

      4               MS. FITZHARRIS:      So HSI, actually, is required to

      5   record as a CBP.     Particularly, if a recording is requested.

      6               THE COURT:   If a recording is requested?

      7               MS. FITZHARRIS:      Yes, by the interrogee.

      8               THE COURT:   Okay.     But that didn't happen, right?

      9               MS. FITZHARRIS:      Mr. Ramadan did request it be

     10   recorded.

     11               THE COURT:   Oh, he requested it was recorded.          That's

     12   the first time I heard that.        Interesting.

     13               Okay.   Go ahead.

     14               MS. FITZHARRIS:      So with respect to how relevant it is

     15   to the ultimate questions of whether Mr. Ramadan will be

     16   punished or convicted, the things we are seeking are integral

     17   to those questions.

     18               The government also will -- you know, to begin, the

     19   government wants to limit its Giglio and Brady obligations to

     20   trial.   That is not the language of Brady -- of Bagley.             And

     21   the actual materiality standard of Bagley is whether the result

     22   of the proceeding would have been different.           And that's at

     23   473 U.S. 667 at page 682.        That is exactly the same -- and that

     24   is the case where that adopted the Strickland standard, which

     25   also looks at the result of the proceeding and the effect of
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      1   the evidence -- withheld evidence on the proceeding.

      2               Mr. Martin, I believe, misspoke when he said that no

      3   Supreme Court case actually said that Giglio is required for a

      4   suppression hearing.

      5               That is just not true.      The Supreme Court has never,

      6   ever addressed the question of whether the government must

      7   disclose Brady and Giglio evidence relevant to motions to

      8   suppress.

      9               Like I said before, Raddatz was entirely about the

     10   constitutionality of a magistrate judge's acting and whether

     11   it's constitutional to have a non-Article III judge decide

     12   something without an evidentiary hearing.

     13               The Sixth Circuit -- the government has said that the

     14   Sixth Circuit agrees that it only has to do with the fairness

     15   of trial.    Again, that is not true.        That is not what the Sixth

     16   Circuit has actually said.       The cases the government has cited

     17   are -- the first one is, frankly, about the Franks case.

     18   Whether the government is required to -- when presenting an

     19   affidavit to a magistrate judge, disclose Giglio information to

     20   the magistrate judge.      That's Maize v. City of Dayton.

     21               The United States v. Presser, the question is about

     22   whether Giglio requires production of Jencks Act materials

     23   before the person testifies, and the Sixth Circuit said no.

     24               Snow v. Nelson was a civil rights suit that had to do

     25   with someone seeking damages after charges were dismissed when
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      1   the prosecutor disclosed exculpatory evidence that had been

      2   withheld from the grand jury.        Again, this person never went to

      3   trial.     There was never a suppression issue.

      4               United States v. Uwazurike, that's an unpublished

      5   opinion.     That one's U-w-a-z-u-r-i-k-e.

      6               That was about whether it was -- the exculpatory

      7   evidence was disclosed too late in the middle of trial.

      8               And then Lorraine v. Kohl (ph), is an EDCA case that

      9   has to do with Ohio discovery rules and was subject to EDCA

     10   deference.     So the government's cases do not support its

     11   assertion that the Sixth Circuit does not require disclosure of

     12   Giglio or Brady materials to be used relevant to deciding a

     13   Fourth Amendment or Fifth Amendment issue.

     14               And their arguments with respect to the requirements

     15   of Rule 16 are similarly problematic.          The definition of

     16   interrogation is drawn from the Miranda line of cases.              But

     17   that means the express questioning or the functional equivalent

     18   likely to produce an incriminating response.           That's an

     19   interrogation.

     20               The rule -- as I have said, the text of the rule says

     21   before or after arrest, the custodial component is not in Rule

     22   16(b).     At all.

     23               So the government's arguments about the nature of this

     24   interview is kind of irrelevant.        And Galloway actually

     25   supports that conclusion that ordinarily a secondary Customs
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      1   inspection is not a custodial interrogation because you're not

      2   talking about incriminating subjects.

      3              But this interview with Mr. Ramadan went well beyond

      4   ordinary Customs inspections.        I mean, they were asking about

      5   his views on ISIS.      They asked him if he supported Hamas.              They

      6   asked him about his feelings about Jews.          These are not

      7   ordinary Customs questions.

      8              And, particularly, when they started asking him about

      9   terrorism-related issues and the guns or what they thought was

     10   a pipe bomb, these are questions that are likely, very likely,

     11   targeted at incriminating and producing incriminating

     12   responses.    So I think they are squarely within the rule --

     13   within the ambient of Rule 16.

     14              With respect to Armstrong and the applicability of

     15   Rule 16 discovery requests to pretrial motions, Armstrong dealt

     16   with a very, very particular type of discovery.            That was about

     17   access to the prosecution's files in order to file a selective

     18   prosecution motion.      It was a very, very unique type of

     19   pretrial motion.

     20              And the Court said that this type of defense, which

     21   isn't about, you know, things like admissibility of evidence,

     22   is too far afield from the ultimate question of the

     23   government's case in chief.       It's what's a sword claim saying

     24   that we're attacking the government's conduct versus saying,

     25   "Hey, this evidence that the government wants to introduce,
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      1   it's not admissible."

      2              Now, that is a defensive claim.         So if we're drawing a

      3   distinction between sword claim and shield claims, a motion to

      4   suppress evidence, any claim that's evidence the government

      5   wants to use against the defendant at trial is a shield claim

      6   and, therefore, Armstrong is inapplicable.          And the Sixth

      7   Circuit does not hold otherwise.

      8              The cases the government cites, I fully go into those

      9   in the brief.     But in all but one, Armstrong is not even

     10   mentioned in those cases.

     11              Mr. Martin and I have a different memory of

     12   Armentrout's -- the length of time he was involved in the

     13   interview with Mr. Ramadan.       I mean, he -- my impression, my

     14   reading of that transcript, is not that it was short.              It went

     15   on for some time and how long is a little unclear.             But he,

     16   specifically said that he was writing down Mr. Ramadan's

     17   answers to questions.      I know that on the second day of

     18   testimony Officer Schmeltz said there wasn't much there.

     19              But Officer Armentrout, the author of the notes, said

     20   he was writing down Mr. Ramadan's answers to questions.              I

     21   think that is more credible than Officer Schmeltz's testimony

     22   after this exhibit became an issue.

     23              Whether -- you know, Mr. Martin was talking about the

     24   crime, the interrogation and the crime were a week apart.                  But

     25   the case agent was assigned to investigate Mr. Ramadan the day
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      1   after he was pulled from the airplane.           You know, hours after

      2   he was released from the airport.        So they were looking into

      3   Mr. Ramadan and they were looking into his statements.              They

      4   were looking for that storage unit long before the tape was

      5   recorded over.

      6              And in terms of whether this is -- you know, the

      7   government had possession of those materials, there is a very

      8   limited amount of case law that has to do with -- the

      9   government's responsible to preserve evidence that is in its

     10   custody or control.      And so that's what I was talking about,

     11   the control the government had over that particular area and

     12   the relationship between the federal government and the Wayne

     13   County Port Authority.

     14              The Third Circuit case, United States v. Risha,

     15   R-i-s-h-a, at 445 F.3rd 298, is the leading -- it's pretty much

     16   the leading case on the question of cooperation between federal

     17   government agencies and some other state actor.             Admittedly,

     18   this, as Judge Kozinski pointed out in a recent descent having

     19   to do with prosecutorial misconduct, this is kind of an

     20   unsettled area.

     21              But what the Third Circuit and the Fifth Circuit do is

     22   they look at a variety of factors.           About the knowledge or the

     23   information is acting on behalf of or is in control.

     24              So I think Ms. Steeds or -- I'm pronouncing her name

     25   wrong.
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      1              Her affidavit suggests an ongoing relationship between

      2   Customs and Border Control and the Wayne County Port Authority

      3   that had existed for many years.        You know, if you need to have

      4   a government ID to get into this area, the federal              government

      5   has complete control over everything surrounding that camera.

      6              So it's hard to believe that it has no ability or

      7   control over what happens to the footage if they need it.                   And

      8   I think it's pretty clear the fact that the case agent was

      9   assigned the day Mr. Ramadan was released that what happened in

     10   that room meant something to the government.

     11              The other thing is that if the two agencies, the state

     12   and federal agency, are part of a team that are participating

     13   in a joint investigation or sharing resources, I think that's

     14   undoubtedly true with respect to Wayne County Port Authority

     15   and the federal government's control over the secondary

     16   inspection area.     They are definitely part of the same team.

     17   It's all about security at the airport, what goes on at the

     18   airport, everything having to do with the border and planes

     19   going in and out and who is on them.

     20              The third factor is whether the entity charged with

     21   constructive possession has ready access to the evidence.

     22   Again, this is something where it's quite clear that the Port

     23   Authority did have ready access to the video recordings that

     24   were in the rooms where Mr. Ramadan was kept.              We believe,

     25   based on the testimony, that Mr. Ramadan was put into -- that
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      1   there were only two interview rooms.          We think he was in both

      2   and then there's a conference room.          Based on our visit to the

      3   airport, both of those rooms have cameras in them.             We did not

      4   go into the conference room.

      5              But, the point is, there was ready access to this

      6   information.     There was nothing preventing anyone from getting

      7   control of it.     And, particularly, because the federal

      8   government was -- the FBI was, apparently, interested in

      9   Mr. Ramadan, it's incredible that they wouldn't want to look at

     10   what happened or try to access the recording of that

     11   conversation.

     12              So I think the government's contention that this isn't

     13   even discoverable, it just doesn't work out that way.              You're

     14   part of a team.     The government had ready access to this

     15   information and it's very critical.

     16              With respect to harmless error.         Harmless error is a

     17   standard of review.      The case the government cites is no

     18   surprise that the Sixth Circuit reviewing what the district

     19   court did with respect to a discovery motion applies harmless

     20   error review.     So the fact it quotes that standard is pretty

     21   obvious.     When it's in the district court, the standard is very

     22   different.     And it's actually kind of backwards to say, "Well,

     23   this may be discoverable and you haven't been providing it, but

     24   the government doesn't need to provide it because I don't think

     25   it's relevant at this time even though you don't have it."
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      1              That just doesn't work that way.         The Bank of Nova

      2   Scotia, the Supreme Court case that the government cites in its

      3   brief, has to do with when a district judge dismisses an

      4   indictment after a grand jury proceeding.           So the district

      5   judge was conducting a review procedure and decided there had

      6   been prosecutorial misconduct and dismissed on those grounds.

      7   And harmless error review was the standard appropriate for that

      8   kind of review proceeding where the district court is acting

      9   kind of like the court of appeals.           That's not the position

     10   Your Honor is in right now.       So Rule 52 really has no bearing

     11   on this thought whatsoever.

     12              We do believe that the training, Officer Armentrout,

     13   Officer Schmeltz, Officer Brown's training and Agent Thomas's

     14   training about counter-terrorism is all relevant.             I asked

     15   Officer Schmeltz about his counter-terrorism training when he

     16   testified.    It was, frankly, not until Officer Armentrout

     17   testified that he had that training and he started to explain

     18   what he thought was suspicious about Mr. Ramadan's answers.

     19   That's when it became clear that this was relevant to our line

     20   of questioning.     So I don't think it's surprising that given

     21   new evidence and new information that the request came when it

     22   did.

     23              Finally, credibility is really important.           And there

     24   are two cases that came out of this district in the past less

     25   than a week that show how important credibility is.
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      1               Judge Goldsmith on Friday granted a motion to suppress

      2   after finding that the officers were not credible.             On Monday

      3   Judge Edmunds also suppressed evidence finding that the

      4   officer's testimony was not credible.          Credibility is of the

      5   utmost importance when we're talking about Fourth Amendment

      6   violations.

      7               THE COURT:   Were these in suppression hearings or

      8   trials?

      9               MS. FITZHARRIS:    Those were in suppression hearings.

     10               THE COURT:   Did they have information in the discovery

     11   like you are requesting?

     12               MS. FITZHARRIS:    There wasn't this sort of litigation

     13   about it.

     14               But I bring those up just to bring up the point just

     15   how important credibility is in suppression hearings and why

     16   access to impeachment information in time to be used as a

     17   suppression hearing is important.

     18               And I think that the language of that, when it talks

     19   about the outcome of the proceeding, shows that it is not --

     20   the government's Giglio and Brady obligations are not as

     21   limited as it's reading it.

     22               Finally, in respect to the concerns raised about how

     23   problematic it might be if this Court orders disclosure of

     24   exculpatory -- of information relevant to -- that is helpful to

     25   the defense in its suppression hearing or, you know, about
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      1   credibility about testifying officers in a suppression hearing,

      2   that -- it's really hard to understand why that is so

      3   groundbreaking or shocking when the DOJ's current policy is

      4   that they're supposed to provide Giglio materials for

      5   testifying agents at suppression hearings.

      6              THE COURT:    Well, what would be your benefit to having

      7   the tip, the full tip document?

      8              MS. FITZHARRIS:     Honestly, if the document had been

      9   produced to us where it was clear, the things like date of

     10   birth, names, personal identifying information, and then that

     11   information had been redacted out, I don't think we would be in

     12   this position.     The way that it was produced to us it had just

     13   a huge block of redacted information.

     14              THE COURT:    Now, what would be your benefit no matter

     15   what it said?     As long as you knew what the officer testified

     16   to.

     17              MS. FITZHARRIS:     Well, we would have been able to ask

     18   him more about that and, you know ...

     19              THE COURT:    Like what?

     20              MS. FITZHARRIS:     Like what -- if it said, you know,

     21   follow-up investigation revealed that the tip came from

     22   Mr. Ramadan's mother-in-law who has been civilly committed, you

     23   know, that's pretty relevant information that we would have

     24   liked to be able to inquire into with agent -- with Officer

     25   Armentrout if we had had it in advance.
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      1              At this point, perhaps, if the government just changes

      2   its redactions and produces the tip so it's clear that they're

      3   just protecting PSI, that's fine.

      4              THE COURT:    If the government did what?

      5              MS. FITZHARRIS:     You know, instead of like a huge

      6   block redaction the way it is now, if it redacts out things

      7   like date of birth or Social Security numbers so it's clear

      8   that that's the information that's been redacted, that's fine

      9   with us.

     10              It's a compromised position.        I -- we are just --

     11   today is the first day when we have even been told what is

     12   behind those redactions.

     13              So we're not here to be unreasonable, but we don't

     14   know what we don't know.       And we went through -- the more we

     15   learn about what we don't know, the more troubled we are about

     16   what has been withheld.       So unless the Court has any other

     17   questions ...

     18              THE COURT:    Not right this minute.

     19              Mr. Martin, I have a question for you.           There was a

     20   some discussion about whether you actually looked for Giglio

     21   materials for agents other than Thomas?

     22              MR. MARTIN:     Yes, Your Honor.     And I wanted to address

     23   that.

     24              The answer is, yes.      For the government -- the

     25   witnesses the government called, the government did check and
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      1   there's no material to produce.

      2               THE COURT:    Okay.

      3               MS. FITZHARRIS:       Your Honor, we would like a

      4   representation about Officer Brown as well.

      5               MR. MARTIN:    Well, we didn't call Officer Brown and so

      6   he and Mr. Thomas are in a different boat.

      7               And that's the second point I wanted to make and that

      8   is that I argued -- I spent most of my time arguing that due

      9   process clause Brady and Giglio do not apply at suppression

     10   hearings.

     11               Let's just assume for the sake of argument that they

     12   do.    We have to keep in mind the posture we're in here.             The

     13   government rested its evidence with respect to the suppression

     14   hearing.     We are not calling anymore witnesses.           We are not

     15   asking you to rely on the testimony of any more witnesses in

     16   order for the government to defeat the defense's motion to

     17   suppress.

     18               The defense now it's time to present their case.                And

     19   they are calling Thomas, Brown and they say their client.

     20   Three witnesses in the defense case.          There is no case that

     21   says that the government is required under Brady and Giglio to

     22   provide impeachment information for a defense witness.               Even in

     23   a trial there are many cases to the contrary.              I cite them in

     24   our brief.     We have cited six.      I'll just give you a flavor of

     25   one.
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      1               It's the most recent from the Court of appeals I

      2   found, United States v. Snell 676.           It's a Federal Appendix

      3   144.     It's actually a Fourth Circuit case from 2017.          And it

      4   states, quote, the government had no obligation under Brady or

      5   otherwise to disclose evidence that was only relevant to the

      6   potential impeachment of a defense witness, end quote.

      7               And there's many, many more.        Because it's never

      8   helpful material to the defense under the meaning of the

      9   constitutional standard under due process to impeach their own

     10   witness.

     11               You know, Thomas or Brown are going to come up and

     12   testify and they're either going to say they beat up

     13   Mr. Ramadan or they didn't.       If they say they beat up

     14   Mr. Ramadan, then how does impeaching them help the defense?

     15   If they get out of these witnesses what they want, how does

     16   them turning around and, basically, drawing out evidence and

     17   telling you, "Well, you shouldn't believe these two agents

     18   because they're liars and cheaters and all that," that doesn't

     19   help them.     So it's not material and the cases are clear that

     20   the government is under no obligation to turn over impeachment

     21   evidence.

     22               THE COURT:    Well, I'm assuming they're going to say

     23   they didn't beat him up and they're going to show that they're

     24   lying.

     25               MR. MARTIN:    That they're lying about that, right.
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      1   So, but does that -- so ...

      2              THE COURT:     That's their witness?

      3              MR. MARTIN:     It's their witness.      So then the question

      4   becomes why are they calling him?        I mean, the reality here is

      5   they know Thomas and Brown are not going to testify that they

      6   beat a confession out of him.        So then the question comes into

      7   play, "Why are they calling them?"

      8              And that's why the government alleged that, well, they

      9   must be calling them because they knew that they couldn't

     10   impeach Thomas so thoroughly.        And it was the Federal

     11   Defender's Officer that represented Koubriti.              So it would make

     12   sense that they would know about the background on Thomas.

     13              MR. DENSEMO:     Well, we didn't know.      Well, I didn't

     14   know.

     15              MR. MARTIN:     Let me also just --

     16              MR. DENSEMO:     You're wrong.

     17              THE COURT:     Just a minute.     Are you on the record?         Do

     18   you want to say something?

     19              MR. DENSEMO:     Yes, Your Honor.      The representation

     20   from the U.S. Attorney's Office, once again, I think is

     21   disparaged me and my office because their assumption is

     22   completely wrong.     I had no idea that Michael Thomas was

     23   involved in the Koubriti case.        We had no intention of even

     24   talking about Michael Thomas or Koubriti until the U.S.

     25   Attorney's Office told us about Michael Thomas and his
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      1   connection to Koubriti.

      2              So all of this talk about Koubriti, that was brought

      3   on by the U.S. Attorney's Office.        Not by me.        Not by the

      4   Federal Defender's Office.       We had no intention of talking

      5   about it, one, because we hadn't been given any Giglio material

      6   that they had for eight months.

      7              So the idea that Andrew Densemo is laying in the weeds

      8   to ambush the U.S. Attorney's Office, wrong.           The idea that the

      9   Federal Defender's Office laid in the weeds and tried to ambush

     10   the U.S. Attorney's Office is wrong.          We were doing this

     11   straight up.     We were going to cross-examine Thomas like any

     12   other witness.     Like we had cross-examined Armentrout,

     13   Schmeltz, Robinson, all the other witnesses.

     14              We didn't try to disparage any of those witnesses'

     15   character or integrity.       We didn't get into any of those things

     16   because we trusted that the U.S. Attorney's Office had provided

     17   us with Giglio materials and Brady materials.              I trusted the

     18   U.S. Attorney's Office had done their job.          I did not know

     19   about Michael Thomas and Koubriti and Giglio until I had got

     20   the motion from the U.S. Attorney's Office saying, "Hey, Judge

     21   Battani, don't let them talk about it."

     22              MR. MARTIN:     I take Mr. Densemo at his words.          He

     23   didn't know about Michael Thomas, I take him at his word.                   But

     24   then we're back to the question of why they want to call a

     25   witness that's not going to provide them favorable evidence and
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      1   is there a case?     Is there a legal requirement for the

      2   government to provide the defense with impeachment information

      3   about their own witnesses?       And there is not.

      4               There is also a practical consideration I want to

      5   bring up to Your Honor.       There is a lot of material related to

      6   the Koubriti case.       Myself and Mr. Waterstreet have not

      7   reviewed it all.     If the Court were to order the government to

      8   conduct a Giglio review of that, we're talking about a major

      9   effort that would take a considerable amount of time and I want

     10   the Court to be aware of that.

     11               THE COURT:    I would think the only thing important

     12   about that is if there was some discipline or something that he

     13   had or the ultimate resolution that was negative.             Or even

     14   positive.    I guess they should know.

     15               That's all they want to know.       We're not going to go

     16   into, as I said before, all the detail that some of us might

     17   remember who were involved in that case.          That's not necessary.

     18               MR. MARTIN:    Right.   I agree.

     19               THE COURT:    So I wouldn't do that.      But I do think

     20   that, given all of this discussion, that they should be given

     21   not his FBI personnel file, but sanctions against him should be

     22   turned over to them so they would know what they are.

     23               MR. MARTIN:    Well, that could be a major effort to

     24   uncover that.     That information may not be as readily available

     25   as you would think.       And I'm kind of quite confident that I can
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      1   represent that to the Court.

      2              And how much time the government would need to obtain

      3   that information, I don't know.

      4              THE COURT:    Well, I know.       I don't think it's going to

      5   be that time consuming.       All you need to get them is a final

      6   resolution of what happened.       He was -- I don't even remember.

      7   He was fired because he failed to disclose information.              He was

      8   fired because he lied.

      9              I mean, I think that's enough.

     10              MR. MARTIN:     So any kind of official discipline?

     11              THE COURT:    Pardon me?

     12              MR. MARTIN:     I'm sorry, Your Honor.      Any kind of

     13   official discipline; is that what you're referring to?

     14              THE COURT:    Yes, official discipline.         Yeah.    I don't

     15   think we need to make a bigger deal out of this.

     16              MS. FITZHARRIS:     You know, and findings.        You know, if

     17   there was discipline or anything.        You know, there was clearly

     18   an investigation and there was conduct, we would like to know

     19   what the findings were.

     20              MR. MARTIN:     See, that ...

     21              THE COURT:    Well, that's a big grant.         I think you

     22   can -- it's enough to know that he was -- I don't know what.

     23   Discharged for lying.      Whatever it is.      That's all.

     24              We're not going into the facts of the case.             I don't

     25   think that's necessary.       Because it doesn't make any
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      1   difference.    If he lied in this case, you can argue he lied --

      2   or if he lied in that case, he lied in this case.             Or if he

      3   failed to turn over something in that case, maybe he failed to

      4   turn it over in this case.         I don't know if that would be your

      5   argument.

      6               And I would order that you give them that information.

      7               MR. MARTIN:    We will, Your Honor.      If it's something

      8   that will take a long of time, we'll alert the Court.

      9               THE COURT:    Let me know.

     10               And how about Brown?

     11               MR. MARTIN:    Brown, we have done a check on and we are

     12   confident we met our obligations by not providing anything.

     13               MS. FITZHARRIS:       Meaning, Your Honor, they did not

     14   find anything that would be considered Giglio material?

     15               THE COURT:    Correct.

     16               MR. MARTIN:    Correct.

     17               THE COURT:    Okay.     All right.   In terms of the

     18   information you want on the officers who were there and their

     19   agencies, this is like a witness list, which is not required in

     20   our court in trial.       So I don't think it would be required in a

     21   suppression hearing.       You did have the opportunity, I know, to

     22   ask some of the officers who else was there and, therefore, you

     23   have that information.       And if you want to know if you -- if

     24   you don't know and you want to know which agencies those

     25   individuals were with, I would allow you to -- or order the
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      1   government to give you that information.

      2              Okay.    Government, do you understand what I said?              If

      3   she asks you, she or he, asks you for an agency that somebody

      4   was in, you're to turn that over, but other than that you don't

      5   have to give them any other listing.

      6              MR. MARTIN:     Yes, Your Honor.

      7              THE COURT:    And in terms of the unredacted tip report,

      8   the only testimony we have had is that the whole report was not

      9   seen by the officer; that he only saw the -- I think he said

     10   several lines or something, information there.              There is

     11   indication that this is a false -- that the report may have

     12   had ...

     13              I think this is what the defense is saying is may have

     14   had information that it was checked out.          And it was merely

     15   reported by an incompetent relative.          And if that's in the

     16   report, you can look in the report.          If there is anything in

     17   the pages that have been redacted regarding the mother-in-law

     18   or mother, then that part should be turned over.              Not

     19   addresses.    Just if the mother-in-law reported it and it was

     20   found not to be relied upon.

     21              MR. MARTIN:     Yeah.   I have looked at it, Your Honor.

     22   I can tell you there's nothing in the redacted portions that

     23   are about whether the information is reliable or not or was

     24   investigated or was found to be not credible.              There's nothing

     25   like that in there.      I've looked at that.
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      1              THE COURT:    I'll take your word for it.         That's fine.

      2              So I'm not going to order that turned over.

      3              The training material:       The training material, the

      4   Court finds does not need to be turned over because it doesn't

      5   appear that the training material would have any relevance from

      6   the testimony that's come in so far to the actual statement and

      7   the subsequent finding of the guns.

      8              The retention policies, that goes to whether the video

      9   or notes were destroyed and the Court finds the government had

     10   no responsibility for the video given the affidavit of the

     11   Airport Authority as to who controlled the videos.

     12              Nobody asked -- I understand now that Mr. Ramadan

     13   asked for an audio, but nobody asked the government to preserve

     14   this.   And at that point how would the government even know to

     15   preserve a video with no audio because there was no allegation

     16   by the officers who testified.

     17              And, in fact, on the contrary, they said he wasn't

     18   beaten up.    He said he was.     But it would be nice to have the

     19   video for that.     But if they did not control it and it was in

     20   the hands of the third-party and the retention policy is seven

     21   days, the Court is not going to -- well, it's not going to

     22   sanction the government.       And there is no video to turn over

     23   and the Court is not going to sanction the government on

     24   that.

     25              Also, the notes, the officers testified about the
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      1   officer taking the notes and then giving them to this

      2   Armentrout.

      3              Well, who did the notes?

      4              MR. MARTIN:     Officer Armentrout did the notes and then

      5   he provided them to Schmeltz to do the report.

      6              THE COURT:    Officer Schmeltz to do the report.           The

      7   officer testified he incorporated them into the report and then

      8   destroyed the notes.

      9              The question there would be is there some policy?                I

     10   think that's probably what the defense is asking for.              Is there

     11   some policy that says the notes should not be destroyed?              If

     12   there is such a policy or a policy on note retention, I want

     13   that turned over to the defendant.

     14              As to the Giglio information, I think we've already

     15   covered all of that.      I don't think there's anything left on

     16   that.

     17              As to Robinson's notes, the Court has already ordered

     18   that that's -- his E-mails are to be turned over and if there's

     19   any existing report to be turned over -- I understand the

     20   photos that were in the E-mails were part of what we saw at the

     21   last hearing, but the time lines may become important to the

     22   defense.    So, therefore, the E-mails are to be turned over.

     23              MR. MARTIN:     We've done that already, Your Honor.

     24              THE COURT:    Okay.    And the Court is not going to

     25   strike Robinson's testimony so far or Armentrout's.
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                                                                                     73


      1              Did I miss any of these?

      2              MR. MARTIN:     I think you got them all.

      3              MS. FITZHARRIS:        I agree, Your Honor.

      4              THE COURT:     Okay.    Is there anything else?       Any other

      5   motion that we haven't covered here today?

      6              Defense?

      7              MS. FITZHARRIS:        No, Your Honor.

      8              THE COURT:     Government?

      9              MR. MARTIN:     We haven't directly addressed the

     10   government's motion in limine to limit the impeachment of

     11   Mr. Thomas once he does take the stand.          I think given the

     12   Court's ruling, we can see how it plays out during the course

     13   of the hearing.

     14              THE COURT:     I think we will see how it plays out

     15   during the course of the hearing after you turn over the

     16   information.

     17              All right.     Thank you.    The hearing is set for May ...

     18              MR. DENSEMO:     May 23rd, Your Honor.

     19              THE COURT:     Thank you.    May 23rd.

     20              I think we gave -- let me just look at the time we

     21   gave because I want to make sure it's going to be sufficient.

     22              MR. WATERSTREET:       Your Honor, I have a 10 o'clock in

     23   the morning starting on the 23rd and you also set aside the

     24   24th, if we need additional time.

     25              Of course, I'm getting old and my memory's going.
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      1              THE COURT:    No.   You're right.          I know it was the 23rd

      2   and we did.    We have given it the whole day, 10:00 to 5:00.

      3              MR. WATERSTREET:     Okay.

      4              THE COURT:    And the 24th we have given it the morning

      5   up until two o'clock.

      6              All right.    We'll see you then.           Thank you.

      7              MR. WATERSTREET:     Thank you.

      8              THE CLERK OF THE COURT:       All rise.

      9              This Court is adjourned.

     10         (At 4:15 p.m., matter concluded.)

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      1                      C   E   R    T   I   F   I   C   A   T   E

      2

      3              I, Darlene K. May, certify that the foregoing is a

      4   correct transcript from the record of proceedings in the

      5   above-entitled matter.         I further certify that the transcript

      6   fees and format comply with those prescribed by the Court and

      7   the Judicial Conference of the United States.

      8

      9   May 4, 2018                     /s/ Darlene K. May
          Date                            Darlene K. May, CSR, RPR, CRR, RMR
     10                                   Federal Official Court Reporter
                                          Michigan License No. 6479
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